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z, || Seafend Compensation 5,802 3,443 905 536 102 47 120 267
Program

2. Individual Economic Loss 15,257 11,289 8,503 728 1 2 0 725
Individual Periodic Vendor

3. or Festival Vendor 97 75 N/A 16 0 0 11 5
Economic Loss

4. Business Economic Loss 10,796 6,244 2,638 483 62 2 234 185
Start-Up Business

5. Economic Loss 912 530 205 22 0 0 7 15

6. Failed Business Economic 1,016 668 256 59 0 0 8 51
Loss

7. Coastal Real Property 5,532 4,393 N/A 782 603 0 74 105

8. Wetlands Real Property 880 824 N/A 16 9 0 0 af

9. Real Property Sales 410 336 N/A 139 68 0 29 42

10. | Subsistence 3,873 2,357 N/A 98 0 0 0 98

11. | VoO Charter Payment 5,159 3,451 N/A 2,888 2,501 0 343 44

12. | Vessel Physical Damage 259 186 N/A 6 1 0 5 0

13. | TOTALS 49,993 33,796 12,507 5,773 3,347 51 831 1,544

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Amount Amount l Amount

Seafood Compensation

ii Program 102 $8,544,689 50 $5,631,313 1 $40,972

2. Individual Economic Loss 1 $2,572 1 $2,572 0 $0
Individual Periodic Vendor

3. or Festival Vendor 0 $0 0 $0 0 $0
Economic Loss

4. Business Economic Loss 62 $10,995,627 37 $7,278,069 0 $0
Start-Up Business

5. | Economic Loss 0 $0 0 $0 0 $0

6. Failed Business Economic 0 $0 0 $0 0 $0
Loss

7. Coastal Real Property 603 $3,968,987 226 $1,884,891 59 $439,070

8. Wetlands Real Property 9 $141,750 1 $15,750 1 $15,750

9. Real Property Sales 68 $3,700,731 53 $3,189,044 17 $1,181,694

10. | Subsistence 0 $0 0 $0 0 $0

11. | VoO Charter Payment 2,501 $111,166,031 1,938 $92,071,571 504 $24,617,700

12. | Vessel Physical Damage 1 $1,088 1 $1,088 0 $0

13. | TOTALS 3,347 $138,521,476 2,307 $110,074,297 582 $26,295,186

DEEPWATER HORIZON
CLAIMS C' ENTER Page 2 of 2
